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                           UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA


  MARIE WALKER,                                     Civil Action No.: 2:21-cv-650

                   Plaintiff,

          vs.

  FIT & FRESH, INC.,

                   Defendants.

                     JOINT STIPULATION FOR DISMISSAL OF ACTION

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Plaintiff, Marie Walker, and Defendant, Fit &

Fresh, Inc., stipulate and agree to dismissing the instant action with prejudice, each party to bear

its own costs and attorney’s fees.

                                                     Respectfully submitted,

                                                     ROBERT PEIRCE & ASSOCIATES, P.C.


                                                     By: /s/ Mark D. Troyan
It is so ordered
                                                        MARK D. TROYAN, ESQUIRE
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